     Case 9:19-cv-00035-JRG Document 1 Filed 10/30/18 Page 1 of 6 PageID #: 1




                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF TEXAS
                                MARSHALL DIVISION

TROY MARTIN, INDIVIDUALLY,                           §
AND AS NEXT FRIEND OF I.M., MINOR                    §
                                                     §
Plaintiffs,                                          §
                                                     §       CIVIL ACTION NO.
v.                                                   §
                                                     §
DANIEL VANMIL, AND                                   §
PAVEMENT MARKINGS, INC.,                             §
                                                     §
Defendants.                                          §

                          PLAINTIFFS’ ORIGINAL COMPLAINT

TO THE HONORABLE JUDGE OF SAID COURT:

        COMES NOW, Plaintiffs TROY MARTIN, Individually and as Next Friend of I.M., his

minor child, complaining of Defendant, DANIEL VANMIL, and his employer, PAVEMENT

MARKINGS, INC. and files this, Plaintiffs’ Original Complaint. For causes of action, Plaintiffs

would respectfully show this Honorable Court as follows:

                                               I.
                                            PARTIES

     1. Plaintiffs, TROY MARTIN, Individually and as Next Friend of I.M., are residents of

        Natchez, Lousiana and Houston, Texas respectively.

     2. Defendant, DANIEL VANMIL, is a resident of Illinois. Service of Process may be

        obtained on the defendant DANIEL VANMIL by substituted service on the Chairman of

        the Texas Transportation Commission pursuant to Texas Civil Practice and Remedies

        Code § 17.061 et seq., and Defendant, PAVEMENT MARKINGS, INC. is a company

        incorporated in Tennessee and with its principal place of business in Illinois. Defendant

        Pavement Markings, Inc.’s registered agent for service of process in Korey Koester, 2650

        Hearth Stone Drive, Cordova, Tennessee 38106-8464.
   Case 9:19-cv-00035-JRG Document 1 Filed 10/30/18 Page 2 of 6 PageID #: 2




                                                II.
                                              FACTS

    3. On or about November 23, 2016, Plaintiff I.M. was traveling as passenger of a vehicle

        heading northbound on US Highway 59 on the inside lane approaching Lumberjack Drive

        intersection in Diboll, Texas.    Defendant was behind the plaintiff’s vehicle driving a

        pickup truck towing another vehicle. As the car in which the plaintiff was riding as a

        passenger approached the intersection, the traffic signal turned orange. As plaintiff’s

        driver’s car slowed and prepared to stop, defendant failed to control his speed and impacted

        the rear-end of the vehicle plaintiff was an occupant. As a direct and proximate cause of

        defendant’s negligence, Plaintiff sustained immediate injuries, harm and damage.

        Defendant Daniel VanMil and his passenger, Korey Koester, were at all relevant times

        employees and agents of the owner of the vehicle, Pavement Markings, Inc.

                                           IV.
                                 JURISDICTION AND VENUE

    4. The Court has subject matter jurisdiction over this action pursuant to 28 U.S.C. §1332

        because the plaintiffs are citizens of different states than the defendants and the matter in

        controversy exceeds the sum or value of $75,000 exclusive of interests and costs.

    5. The Court has personal jurisdiction over the defendants pursuant to Texas CPRC § 17.061

        et seq. over defendants, Daniel VanMil, a nonresident person, and Pavement Markings,

        Inc., a foreign corporation, because this cause of action arises out of the acts and omissions

        of the defendants, where defendant Daniel VanMil negligently operated a motor vehicle in

        Texas that was involved in a collision or accident injuring the plaintiffs, and Daniel VanMil

        was an employee and agent of said foreign corporation.

    6. Venue for this action is proper in the United States District Court for the Eastern District


Page 2 of 6
   Case 9:19-cv-00035-JRG Document 1 Filed 10/30/18 Page 3 of 6 PageID #: 3




        of Texas, pursuant to 28 U.S.C. § 1391(b)(2), because all or a substantial part of the events

        or omissions giving rise to the claim occurred in this District.

                                           V.
                              NEGLIGENCE OF DANIEL VAN MIL

    7. Plaintiffs replead the foregoing factual allegations as if quoted verbatim herein and set forth

        herein at length.

    8. At the time of the collision described above, Daniel Van Mil, by various acts and omissions,

        failed to exercise ordinary care while operating his motor vehicle and/or acted with

        conscious indifference or reckless disregard for the safety of others. These acts and

        omissions include the following, each of which singularly, or in combination with others,

        constitute acts of negligence that were a direct and proximate cause of the occurrence in

        question and the resulting injuries and damages Plaintiff suffered as set forth herein:

              a. Failure to control the proper speed of his vehicle;

              b. Failure to give right-of-way, and/or slow, at stop-light controlled intersection;

              c. Failure to keep a proper lookout;

              d. Failure to make timely and proper application of brakes to avoid the collision in

                 question;

              e. Failure to steer his vehicle to avoid the collision in question;

              f. Failure to exhibit proper and prudent driver attention, causing a collision and

                 injury.

              g. Failure to take proper evasive actions to avoid the collision; and

              h. Driving with conscious indifference or reckless disregard for the safety of others;

              i. Violating traffic and safety laws of this state and county, including 546.001 (2) and

                 (3) of the Texas Transportation Code.

Page 3 of 6
   Case 9:19-cv-00035-JRG Document 1 Filed 10/30/18 Page 4 of 6 PageID #: 4




                                           VI.
                           NEGLIGENCE PER SE OF DANIEL VAN MIL

    9. Plaintiffs replead the foregoing factual allegations as if herein quoted verbatim and set forth

        herein at length.

    10. Additionally, and without waiving any of the foregoing, Plaintiff will show that, as is

        recognized under Texas law, the acts or omissions as set forth amount to negligence per se

        in violation of Section 546.001(2) and (3) of the Texas Transportation Code (failed to slow

        at intersection and endangered life and property by exceeding maximum speed limit).

    11. Plaintiffs will show that the injuries, harms and damages which they have been forced to

        endure, as a result of the collision that is the subject of this action, is that which the statutes

        in question were meant to prevent. Additionally, Plaintiff will show that they are within

        the class of persons whom the Texas Legislature sought to protect with the passage of these

        stated statutes.

                                                VII.
                                        RESPONDEAT SUPERIOR
    12. Defendant Pavement Markings, Inc. is responsible for the negligence of defendant Daniel

        VanMil, under the doctrine of respondeat superior, as Mr. VanMil was acting in the course

        and scope of his employment and agency at the time he caused a collision to occur, injuring

        plaintiff.

    13. Therefore this defendant is liable jointly and severally with Mr. VanMil for all of the

        damages sustained by plaintiffs.

                                                VIII.
                                              DAMAGES

    14. Plaintiffs replead the foregoing factual allegations as if herein quoted verbatim and set forth

        herein at length.

Page 4 of 6
   Case 9:19-cv-00035-JRG Document 1 Filed 10/30/18 Page 5 of 6 PageID #: 5




    15. As a result of the negligent and negligent per se conduct of Daniel VanMil, and the

        vicarious liability of defendant Pavement Markings, Inc., Plaintiffs suffered injuries, harm

        and damages.

    16. Specifically, plaintiff I.M. sustained injuries to her neck, back, and spine, as well as a

        closed head injury, all of which injuries have caused her pain, mental anguish, lost physical

        function, loss of enjoyment, and caused her and her father Troy Martin to incur medical

        treatment and expenses.

    17. The injuries have had a serious effect on Plaintiffs’ life, health and well-being. Because of

        Defendant’s acts and/or omissions, Plaintiffs suffered damages greater than $75,000,

        which include, but are not limited to:

              a.       Plaintiff’s reasonable and necessary medical treatment paid or incurred in

                       the past;

              b.       Plaintiff’s reasonable and necessary medical treatment for which will be

                       necessary in the future;

              c.       Plaintiff’s past and future physical pain and suffering;

              d.       Plaintiff’s past and future mental anguish;

              e.       Plaintiff’s past and future physical impairment;

              f.       Plaintiff’s past and future physical disfigurement; and

              g.       Plaintiff’s past and future loss of enjoyment of life;

         Plaintiffs seeks monetary relief over $1,000,000.

                                              PRAYER

        WHEREFORE PREMISES CONSIDERED, Plaintiffs pray that Defendant be cited to

appear and answer herein, and upon final hearing hereof, Plaintiffs have and recover of and from


Page 5 of 6
   Case 9:19-cv-00035-JRG Document 1 Filed 10/30/18 Page 6 of 6 PageID #: 6




Defendant for all damages as set forth above, interest on said judgment at the legal rate from the

date of injury, and such other and further relief, special or general, at law or in equity, to which

they may be entitled within the jurisdictional limits of this Honorable Court.

Plaintiff Demands Trial by Jury.

                                              Respectfully submitted,


                                                             /s/ S. Reed Morgan
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Page 6 of 6
